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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA
                                           No. 21 CR 698
               v.
                                           Hon. Sunil R. Harjani

 Ronald T. Molo


                                     ORDER


Arraignment proceedings held. With the consent of the defendant, upon
advice of counsel, and pursuant to the CARES Act, all parties appeared for
this hearing by telephone conference. Enter order appointing Jasmine
Johnson from the Federal Defender Program as counsel for defendant for
initial appearance only. Defendant informed of his rights. Defendant
acknowledges receipt of the Indictment, waives formal reading, and enters a
plea of not guilty. Rule 16.1 (a) conference to be held by 12/9/2021. Status
hearing before Judge Gettleman is set for 12/21/2021 at 9:15 a.m. Order
Setting Conditions of Release previously entered stands. Pretrial Services
oral request to amend conditions is granted. Amended Order Setting
Conditions of Release shall be submitted to the Courtroom Deputy no later
than the close of business 12/3/2021. Government moves for exclusion of
time under the Speedy Trial Act, without objection from defendant. For the
reasons stated on the record, the Court finds that time shall be excluded
through and including 12/21/2021 pursuant to 18 U.S.C. § 3161 (h)(1 )(D)
and (h)(7) because the ends of justice served by the granting of such
continuance outweigh the best interests of the public and the defendant in a
speedy trial. (X-T)



Date: 12/2/2021                       ______________________________________
                                      HON. SUNIL R. HARJANI




Time: 10 min
